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IN THE UNITED STATES DISTRICT COURT Sfp _ ~..
FOR THE DISTRICT OF COLUMBIA ~~ 9 2007

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MARTHA WRIGHT, et al, RICT COURT’ “AK
Plaintiffs,
v. Civil Action No. 1: 00-00293 (GK)

CORRECTIONS CORPORATION OF
AMERICA, et al,

Defendants.

 

MOTION TO RECONSIDER AND MEMORANDUM IN SUPPORT
Plaintiffs, by their undersigned counsel, respectfully request that the Court reconsider its
order dismissing this case without prejudice and instead stay the case pending action by the
Federal Communications Commission (FCC). In support, plaintiffs state:
1. On August 22, 2001, this Court ruled that issues raised in this case should first initially
be reviewed by the FCC under the doctrine of primary jurisdiction. The Court dismissed this case
without prejudice. In considering whether to dismiss or stay the case pending FCC review, the

Court stated as follows (Op. 15, n. 13); OThe Court has the option under the doctrine of primary

‘jurisdiction of either staying the case or dismissing it without prejudice. The Court discerns no
4 prejudice to the parties in dismissing, as opposed to staying, this case.0

2. The parties did not brief this issue in their memoranda, but the plaintiffs wish to bring
to the Courts attention case law holding that a court should stay and not dismiss if the plaintiff
would be prejudiced by the running of the statute of limitations while a matter was pending in an
agency pursuant to the doctrine of primary jurisdiction. Himmelman v. MCI Communications

Corporation, 104 F. Supp. 2d 1 (D.D.C. 2000)(Judge Urbina); Statistical Phone Philly v. Nynex

Corporation, 116 F. Supp. 2d 468, 478-79 (S.D.N.Y. 2000).

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3. In the instant case, the statute of limitations will run on the claims of plaintiffs and class
members while the matter is being reviewed at the FCC. It is likely that the claims of certain class
members will be barred as a result of the running of the statute of limitations. Therefore, plaintiffs
will be prejudiced by a dismissal herein. On the other hand, there is no prejudice to the defendants
by the issuance of a stay.

4. The Court, believing that this case presents issues that are of great human concern to
inmates, their family members and their counsel,O stated (Op. at 14-15): OIn referring this matter
to the FCC, the Court expects the agency to move with dispatch to conclude its ongoing
proceedings so as to provide both courts and parties with meaningful analysis and guidance on
these issues. There is such basis for such a concern since the matter pending before the FCC
brought by inmate telephone service providers regarding local collect calls (FCC Docket 96-128)
has been pending before the FCC without decision for two years, and there is no indication as to
how soon a decision is forthcoming. Plaintiffs propose that the parties submit a report to the
Court within the next six months as to the status of the matters before the FCC so that the Court
can assess whether the proceedings are moving with dispatch and whether there are issues
resolved by the FCC that would enable the parties and the Court to proceed herein.

WHEREFORE, plaintiffs respectfully request that the Court reconsider its decision

dismissing this case and instead stay the proceedings pending consideration by the FCC.
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Dated: September 5, 2001

Respectfully submitted,

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CERTIFICATE OF SERVICE

I, Marie-Ann Sennett, hereby certify that the Plaintiffs’ Motion to Reconsider and
Memorandum in Support and Order, and Notice of Appearance was mailed on this 5th
day of September, 2001 by first Class mail, prepaid upon:

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